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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,
                                                   Case No. 2:21-cv-12193
                     Plaintiff,
                                                   Hon. Matthew F. Leitman
                     v.

BOBBY SHUMAKE JAPHIA,

               Defendant.
_____________________________________/
   NOTICE BY U.S. SECURITIES AND EXCHANGE COMMISSION
OF CONCLUSION OF DEFENDANT’S CHAPTER 7 BANKRUPTCY AND
                EXCEPTIONS TO DISCHARGE

      Plaintiff U.S. Securities and Exchange Commission (“SEC”) respectfully

provides notice of the conclusion of Defendant Japhia’s Chapter 7 bankruptcy and

the exceptions to the Defendant’s Chapter 7 discharge.

      1.    On February 9, 2024, the SEC filed a Notice [ECF No. 50] informing

the Court that Defendant had filed a Chapter 7 bankruptcy petition in the U.S.

Bankruptcy Court for the Central District of California, Case No. 24-bk-10129

(Bank. C.D. Cal.).

      2.    On June 24, 2024, this Court entered an Order [ECF No. 66], which

determined, among other things, that the SEC’s continuation of this action was

excepted from the automatic stay in Defendant’s bankruptcy.

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      3.     On October 25, 2024, the Bankruptcy Court entered an Order of

Discharge, which provides for the discharge of certain debts owed by Defendant to

his creditors. A true and correct copy of the Order of Discharge is attached hereto

as Exhibit A. Following entry of the Order of Discharge, on October 29, 2024,

Defendant’s Chapter 7 bankruptcy case was closed.

      4.     The SEC’s claims against Defendant are not subject to the Order of

Discharge. Exceptions to a Chapter 7 discharge are listed in Section 523(a) of the

Bankruptcy Code, and included among the nineteen categories of excepted debts

are: (i) debts for a fine, penalty, or forfeiture payable to and for the benefit of a

governmental unit, and is not compensation for an actual pecuniary loss [11 U.S.C.

§ 523(a)(7)]; and (ii) debts for the violation of any of the Federal securities laws, or

any regulation or order issued under the Federal securities laws [11 U.S.C. §

523(a)(19)]. These two discharge exceptions are among the sixteen discharge

exceptions that are “self-effectuating,” meaning that “[t]he debts are excepted from

discharge simply because of the nature of the debts” and thus, “no action is

required before the discharge is entered.” Everly v. 4745 Second Avenue, Ltd. (In

re Everly), 346 B.R. 791, 795 (8th Cir. BAP 2006).

      5.     Because the SEC’s claims in this action allege violations of the

Federal securities laws, and the relief sought includes fines, penalties or forfeiture

payable to the SEC, the self-effectuating discharge exceptions set forth in Sections


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523(a)(7) and (a)(19) apply. Accordingly, the Order of Discharge does not impact

any of the SEC’s claims in this case.

November 21, 2024               Respectfully Submitted,

                                UNITED STATES SECURITIES
                                AND EXCHANGE COMMISSION

                                s/John E. Birkenheier
                                John E. Birkenheier, Illinois Bar No. 6270993
                                Jerrold H. Kohn, Illinois Bar No. 6188085
                                Dante A. Roldàn, Illinois Bar No. 6316972
                                U.S. Securities and Exchange Commission
                                Chicago Regional Office
                                175 West Jackson Blvd., Suite 1450
                                Chicago, Illinois 60604
                                (312) 353-7390
                                (312) 353-7398 (facsimile)
                                BirkenheierJ@sec.gov
                                KohnJ@sec.gov
                                RoldanD@sec.gov

                                Dawn N. Ison, United States Attorney
                                Kevin Erskine (P69120), Assistant United States
                                Attorney
                                211 W. Fort Street, Ste. 2001
                                Detroit, MI 48226
                                Tel: (313) 226-9610
                                Email: Kevin.Erskine@usdoj.gov

                                Attorneys for Plaintiff




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                          CERTIFICATE OF SERVICE

      I hereby certify that on November 21, 2024, I caused to be served the

foregoing Notice on the pro se party shown below at the indicated address by first

class U.S. mail and by email.

                                             s/John E. Birkenheier
                                             John E. Birkenheier


Bobby Shumake Japhia
4072 Huckleberry Circle
Dallas, TX 75216
robshumake@gmail.com




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